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 3
                                                              HONORABLE MARSHA PECHMAN
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 7                          IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE WESTERN DISTRICT OF WASHINGTON

 9                                         TACOMA DIVISION

10   MICHAEL J McKENNA and DARLA M.
     McKENNA, husband and wife,
11                                                        CAUSE NO. 3:21-CV-05038-MJP
                             Plaintiffs,
12
                                                          CONFIDENTIALITY STIPULATION AND
     v.
13                                                        PROTECTIVE ORDER
     HOME DEPOT U.S.A., INC., a foreign profit
14   corporation,
                                                          NOTING ON MOTION CALENDAR:
15                           Defendants.                  THURSDAY, SEPTEMBER 23, 2021
16
                                                          [CLERKS’ ACTION REQUIRED]
17

18

19         Plaintiffs Michael J. McKenna and Darla M. McKenna (hereinafter “Plaintiffs”) and
20   Defendant Home Depot U.S.A., Inc. (hereinafter “Defendant”), by and through their respective
21   counsel of record, hereby present this request jointly after conferring in good faith regarding the
22   confidentiality of documents that have been or will be produced by the parties in discovery.
23   1.    PURPOSES AND LIMITATIONS
24         Discovery in this action is likely to involve production of confidential, proprietary, or
25   private information for which special protection may be warranted. Accordingly, the parties
26
     CONFIDENTIALITY STIPULATION AND PROTECTIVE                           HOLT WOODS & SCISCIANI LLP
     ORDER                                                                  701 PIKE STREET, SUITE 2200
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 1   hereby stipulate to and petition the court to enter the following Stipulated Protective Order. It

 2   does not confer blanket protection on all disclosures or responses to discovery, the protection it

 3   affords from public disclosure and use extends only to the limited information or items that are

 4   entitled to confidential treatment under the applicable legal principles, and it does not

 5   presumptively entitle parties to file confidential information under seal.

 6   2.     “CONFIDENTIAL” MATERIAL

 7          “Confidential” material shall include the following documents and tangible things

 8   produced or otherwise exchanged: CCTV footage, policies and procedures, data collected from

 9   audits, inspections, or investigations, maintenance records, safety standards, hazard abatement,

10   etc.

11   3.     SCOPE

12          The protections conferred by this agreement cover not only confidential material (as

13   defined above), but also (1) any information copied or extracted from confidential material; (2)

14   all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,

15   conversations, or presentations by parties or their counsel that might reveal confidential

16   material.

17          However, the protections conferred by this agreement do not cover information that is in

18   the public domain or becomes part of the public domain through trial or otherwise.

19   4.     ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

20          4.1    Basic Principles. A receiving party may use confidential material that is disclosed

21   or produced by another party or by a non-party in connection with this case only for prosecuting,

22   defending, or attempting to settle this litigation. Confidential material may be disclosed only

23   to the categories of persons and under the conditions described in this agreement. Confidential

24   material must be stored and maintained by a receiving party at a location and in a secure manner

25   that ensures that access is limited to the persons authorized under this agreement.

26
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 1         4.2      Disclosure of “CONFIDENTIAL” Information or Items.                 Unless otherwise

 2   ordered by the court or permitted in writing by the designating party, a receiving party may

 3   disclose any confidential material only to:

 4                  (a)    the receiving party’s counsel of record in this action, as well as employees

 5   of counsel to whom it is reasonably necessary to disclose the information for this litigation;

 6                  (b)    the officers, directors, and employees (including in house counsel) of the

 7   receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties

 8   agree that a particular document or material produced is for Attorney’s Eyes Only and is so

 9   designated;

10                  (c)    experts and consultants to whom disclosure is reasonably necessary for

11   this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”

12   (Exhibit A);

13                  (d)    the court, court personnel, and court reporters and their staff;

14                  (e)    copy or imaging services retained by counsel to assist in the duplication

15   of confidential material, provided that counsel for the party retaining the copy or imaging

16   service instructs the service not to disclose any confidential material to third parties and to

17   immediately return all originals and copies of any confidential material;

18                  (f)    during their depositions, witnesses in the action to whom disclosure is

19   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

20   (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of

21   transcribed deposition testimony or exhibits to depositions that reveal confidential material must

22   be separately bound by the court reporter and may not be disclosed to anyone except as

23   permitted under this agreement;

24                  (g)    the author or recipient of a document containing the information or a

25   custodian or other person who otherwise possessed or knew the information.

26
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 1         4.3     Filing Confidential Material. Before filing confidential material or discussing or

 2   referencing such material in court filings, the filing party shall confer with the designating party

 3   to determine whether the designating party will remove the confidential designation, whether

 4   the document can be redacted, or whether a motion to seal or stipulation and proposed order is

 5   warranted. During the meet and confer process, the designating party must identify the basis

 6   for sealing the specific confidential information at issue, and the filing party shall include this

 7   basis in its motion to seal, along with any objection to sealing the information at issue.

 8   5.    DESIGNATING PROTECTED MATERIAL

 9         5.1     Exercise of Restraint and Care in Designating Material for Protection. Each party

10   or non-party that designates information or items for protection under this agreement must take

11   care to limit any such designation to specific material that qualifies under the appropriate

12   standards. The designating party must designate for protection only those parts of material,

13   documents, items, or oral or written communications that qualify, so that other portions of the

14   material, documents, items, or communications for which protection is not warranted are not

15   swept unjustifiably within the ambit of this agreement.

16         Mass, indiscriminate, or routinized designations are prohibited. Designations that are

17   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

18   unnecessarily encumber or delay the case development process or to impose unnecessary

19   expenses and burdens on other parties) expose the designating party to sanctions.

20         If it comes to a designating party’s attention that information or items that it designated

21   for protection do not qualify for protection, the designating party must promptly notify all other

22   parties that it is withdrawing the mistaken designation.

23         5.2     Manner and Timing of Designations. Except as otherwise provided in this

24   agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or

25   ordered, disclosure or discovery material that qualifies for protection under this agreement must

26   be clearly so designated before or when the material is disclosed or produced.
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 1                 (a)     Information in documentary form: (e.g., paper or electronic documents

 2   and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial

 3   proceedings), the designating party must affix the word “CONFIDENTIAL” to each page that

 4   contains confidential material. If only a portion or portions of the material on a page qualifies

 5   for protection, the producing party also must clearly identify the protected portion(s) (e.g., by

 6   making appropriate markings in the margins).

 7                 (b)     Testimony given in deposition or in other pretrial proceedings: the parties

 8   and any participating non-parties must identify on the record, during the deposition or other

 9   pretrial proceeding, all protected testimony, without prejudice to their right to so designate other

10   testimony after reviewing the transcript. Any party or non-party may, within fifteen days after

11   receiving the transcript of the deposition or other pretrial proceeding, designate portions of the

12   transcript, or exhibits thereto, as confidential. If a party or non-party desires to protect

13   confidential information at trial, the issue should be addressed during the pre-trial conference.

14                 (c)     Other tangible items: the producing party must affix in a prominent place

15   on the exterior of the container or containers in which the information or item is stored the word

16   “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

17   the producing party, to the extent practicable, shall identify the protected portion(s).

18         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

19   designate qualified information or items does not, standing alone, waive the designating party’s

20   right to secure protection under this agreement for such material. Upon timely correction of a

21   designation, the receiving party must make reasonable efforts to ensure that the material is

22   treated in accordance with the provisions of this agreement.

23   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS

24         6.1     Timing of Challenges. Any party or non-party may challenge a designation of

25   confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

26   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
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 1    burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

 2    challenge a confidentiality designation by electing not to mount a challenge promptly after the

 3    original designation is disclosed.

 4          6.2     Meet and Confer. The parties must make every attempt to resolve any dispute

 5    regarding confidential designations without court involvement.             Any motion regarding

 6    confidential designations or for a protective order must include a certification, in the motion or

 7    in a declaration or affidavit, that the movant has engaged in a good faith meet and confer

 8    conference with other affected parties in an effort to resolve the dispute without court action.

 9    The certification must list the date, manner, and participants to the conference. A good faith

10    effort to confer requires a face-to-face meeting or a telephone conference.

11          6.3     Judicial Intervention. If the parties cannot resolve a challenge without court

12   intervention, the designating party may file and serve a motion to retain confidentiality. The

13   burden of persuasion in any such motion shall be on the designating party. Frivolous challenges,

14   and those made for an improper purpose (e.g., to harass or impose unnecessary expenses and

15   burdens on other parties) may expose the challenging party to sanctions. All parties shall

16   continue to maintain the material in question as confidential until the court rules on the challenge.

17    7.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

18    LITIGATION

19          If a party is served with a subpoena or a court order issued in other litigation that compels

20    disclosure of any information or items designated in this action as “CONFIDENTIAL,” that

21    party must:

22                  (a)     promptly notify the designating party in writing and include a copy of the

23    subpoena or court order;

24                  (b)     promptly notify in writing the party who caused the subpoena or order to

25    issue in the other litigation that some or all of the material covered by the subpoena or order is

26    subject to this agreement. Such notification shall include a copy of this agreement; and
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 1                  (c)    cooperate with respect to all reasonable procedures sought to be pursued

 2   by the designating party whose confidential material may be affected.

 3   8.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 4         If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential

 5   material to any person or in any circumstance not authorized under this agreement, the receiving

 6   party must immediately (a) notify in writing the designating party of the unauthorized

 7   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the protected material,

 8   (c) inform the person or persons to whom unauthorized disclosures were made of all the terms

 9   of this agreement, and (d) request that such person or persons execute the “Acknowledgment

10   and Agreement to Be Bound” that is attached hereto as Exhibit A.

11   9.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

12   MATERIAL

13         When a producing party gives notice to receiving parties that certain inadvertently

14   produced material is subject to a claim of privilege or other protection, the obligations of the

15   receiving parties are those set forth in CR 26. This provision is not intended to modify whatever

16   procedure may be established in an e-discovery order or agreement that provides for production

17   without prior privilege review.

18   10.   NON TERMINATION AND RETURN OF DOCUMENTS

19          Within 60 days after the termination of this action, including all appeals, each receiving

20   party must return all confidential material to the producing party, including all copies, extracts

21   and summaries thereof. Alternatively, the parties may agree upon appropriate methods of

22   destruction.

23          Notwithstanding this provision, counsel are entitled to retain one archival copy of all

24   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,

25   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

26   work product, even if such materials contain confidential material.
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 1          The confidentiality obligations imposed by this agreement shall remain in effect until a

 2   designating party agrees otherwise in writing or a court orders otherwise.

 3
        IT IS SO STIPULATED:
 4

 5    ROGERS KEE CARD & STROPHY, P.S.                     HOLT WOODS & SCISCIANI LLP
 6

 7    s/C. Scott Kee per email authorization              s/Kelsey L. Shewbert
      C. Scott Kee WSBA No. 28173                         s/Kaytlin L. Carlson_________________
 8    Attorney for Plaintiffs                             Kelsey L. Shewbert, WSBA No. 51214
                                                          Kaytlin L. Carlson, WSBA No. 52606
 9                                                        Attorney for Home Depot U.S.A., Inc.
10

11

12    IT IS SO ORDERED:
13          Based on the foregoing Stipulation, IT IS HEREBY ORDERED that the terms stipulated
14    above shall constituted this Court's Protective Order and shall govern the designation and
15    handling of Confidential Information and confidential deposition testimony as described and
16    defined therein. IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the
17    production of any documents in this proceeding shall not, for the purposes of this proceeding
18    or any other federal or state proceeding, constitute a waiver by the producing party of any
19    privilege applicable to those documents, including the attorney-client privilege, attorney work-
20    product protection, or any other privilege or protection recognized by law.
21

22          DATED: September 24, 2021
23

24                                                A
25                                                Marsha J. Pechman
                                                  United States Senior District Judge
26
      CONFIDENTIALITY STIPULATION AND PROTECTIVE                         HOLT WOODS & SCISCIANI LLP
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